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STATE OF SOUTH CAROLINA             )                IN THE COMMON PLEAS COURT
                                    )                SIXTH JUDICIAL CIRCIT
COUNTY OF FAIRFIELD                 )
                                    )
                                    )                C/A No: 2022-CP-20-
Barry Belton and Dorothy Belton,    )
individually, and as Personal       )
Representatives of the Estate of    )                        SUMMONS
Kevon Belton,                       )
                                    )
                       Plaintiffs,  )
                                    )
       vs.                          )
                                    )
Humana Insurance Company,           )
                                    )
                       Defendant.   )
____________________________________)
TO THE DEFENDANT ABOVE-NAMED:

       YOU ARE HEREBY SUMMONED and required to answer the Complaint in this matter, a

copy of which is herewith served upon you, and to serve a copy of your Answer to Said Complaint

upon the Subscriber at her office, 1031 Center Street, West Columbia, South Carolina within thirty

(30) days after service hereof, exclusive of the day of such service; and if you fail to answer the

Complaint within the time aforesaid, then the Plaintiff will apply to the Court for default judgment

for the relief demanded in the Complaint.



                                              BILLY R. OSWALD LAW FIRM, LLC



                                              BY /s/ Bryn B. Osborne
                                              S.C. Bar No.: 104353
                                              1031 Center Street
                                              West Columbia, South Carolina 29169
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                                              bryn@oswaldlegal.net
                                              ATTORNEYS FOR PLAINTIFF

January 27, 2022

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STATE OF SOUTH CAROLINA             )    IN THE COMMON PLEAS COURT
                                    )    SIXTH JUDICIAL CIRCIT
COUNTY OF FAIRFIELD                 )
                                    )
                                    )    C/A No: 2022-CP-20-
Barry Belton and Dorothy Belton,    )
individually, and as Personal       )
Representatives of the Estate of    )             COMPLAINT
Kevon Belton,                       )           Breach of Contract
                                    ) Bad Faith Refusal to Pay Insurance Claim
                       Plaintiffs,  )          (Jury Trial Demanded)
                                    )
       vs.                          )
                                    )
Humana Insurance Company,           )
                                    )
                       Defendant.   )
____________________________________)

       The Plaintiffs above named, complaining of the Defendant above named, alleges and says as
follows:
   1. Plaintiffs Dorothy Belton and Barry Belton are residents of Fairfield County, South Carolina

and are the duly appointed personal representatives of the Estate of Kevon Belton.

   2. Upon information and belief, the Defendant Humana Insurance Company is a corporation

organized and existing under the laws of one of the States of the United States and which is licensed

to do business in South Carolina and issue policies of life, health, and disability insurance.

   3. The parties hereto, the subject matter hereof, and all things and matters hereinafter alleged

are within the jurisdiction of this Honorable Court.

   4. At all times hereinafter mention, Defendant, Humana Insurance Company, through their

agents, servants and/or employees, sold Lewco Specialty Products/Carolina Technical Fabrics

(hereinafter “Employer”) a Group Life insurance policy with Employee Voluntary Accidental Death

& Disability Benefits designated as Group Number 779283-77928302 (hereinafter “the policy”),

with Kevon Belton being the insured and Dorothy Belton being the primary beneficiary.



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   5. Defendant Humana Insurance Company is subject to the jurisdiction of this court pursuant to

S.C. Code §36-2-803(a)(6).

                                  FACTUAL ALLEGATIONS
   6. Paragraphs one (1) through five (5) above are incorporated herein the same as if repeated

herein verbatim.

   7. On or about December 1, 2018, Defendant Humana issued the policy to Kevon Belton with a

$50,000.00 accidental death benefit (hereinafter “death benefit”). A true and accurate copy of the

policy with the death benefit is attached hereto as Exhibit A.

   8. Kevon Belton named his mother, Dorothy Belton, as his primary beneficiary on the policy

and death benefit.

   9. Prior to his death, decedent Kevon Belton paid all premiums required to keep the policy and

voluntary accidental death benefit in force.

   10. On December 2, 2018, Kevon Belton was operating a motor vehicle on SC-34 near

Jenkinsville when he was involved in a fatal motor vehicle accident.

   11. Coroner Chris Hill determined Kevon Belton’s manner of death to be accidental, and the

cause of death as closed head injury and multiple body trauma. A true and accurate copy of the

Death Certificate of Kevon Belton is attached hereto as Exhibit B.

   12. The time of the motor vehicle accident was determined to be at approximately 2:00 A.M. on

December 2, 2018. The accident was not reported until approximately 7:05 A.M. that same day, and

emergency responders and law enforcement officials did not arrive on scene until approximately

7:48 A.M.

   13. After Kevon Belton passed away, Plaintiff Dorothy Belton submitted a claim for $50,000.00

in accidental death benefits under the subject policy.

   14. Plaintiff, Dorothy Belton, is entitled to the accidental death benefits of the policy. Despite

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repeated demands, the Defendant has failed and refused, and continues to fail and refuse, to pay the

agreed upon policy proceeds.

                                 FOR A FIRST CAUSE OF ACTION
                                   (Breach of Insurance Contact)

    15. Paragraphs one (1) through fourteen (14) above are incorporated herein the same as if

repeated herein verbatim.

    16. At all times material to the allegations contained herein, Plaintiffs’ decedent Kevon Belton

and Defendant, Humana Insurance Company, had a mutually binding insurance contract containing

accidental death benefit among other coverages.

    17. Defendant had a duty to act in good faith and pay all benefits due, including but not limited

to the accidental death benefit, under the subject policy.

    18. Defendant breached the insurance contract when it denied Plaintiff Dorothy Belton’s claim

under the terms of the policy.

    19. As a direct and proximate result of Defendant’s wrongful refusal to honor its insurance

policy, Plaintiff has lost Fifty Thousand Dollars ($50,000.00) in accidental death benefits payable to

Plaintiff under the terms of the policy, among other applicable benefits, and Plaintiff has been forced

to file this lawsuit to collect benefits due.

    20. As a direct and proximate result of Defendant’s beach of contract and wrongful refusal to

honor its insurance policy, Plaintiff Dorothy Belton has suffered actual damages of at least

$50,000.00 in accidental death benefits due under the policy along with any other applicable benefits

under the policy, plus interest, attorney’s fees and costs of this action not exceeding $75,000.00.

                             FOR A SECOND CAUSE OF ACTION
                     (Bad Faith/Unreasonable Refusal to Pay Insurance Claim)

    21. Paragraphs one (1) through twenty (20) above are incorporated herein the same as if repeated



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herein verbatim.

    22. At all times material to the allegations contained herein, Plaintiffs’ Decedent and Defendant

had a mutually binding insurance policy contract providing accidental death benefits.

    23. Defendant owed Plaintiffs’ Decedent a duty of good faith and fair dealing under the subject

policy.

    24. Defendant has wrongfully and in bad faith refused to pay Plaintiff’s claims and the benefits

due under the policy.

    25. Following Kevon Belton’s death, Defendant has asserted multiple unfounded bases to deny

Plaintiff Dorothy Belton’s claims for accidental death benefits reasonably due under the policy.

    26. Under the facts and circumstances of this case, Defendant’s refusal to honor its insurance

policy is unreasonable and in bad faith and violates the implied covenant of good faith and fair

dealing inherent in all contracts formed in South Carolina and further breaches its duties and

responsibilities under the policy.

    27. In interpreting its own insurance policy/adhesion contract and wrongfully applying the facts

and circumstances of the death of Plaintiffs’ decedent, Defendant placed its own financial interests

ahead of the Plaintiffs.

    28. Defendant’s unreasonable denial of Plaintiff Dorothy Belton’s claim for accidental death

benefits was without basis and totally unsubstantiated by the terms of the insurance contract and

facts and circumstances associated with the claim.

    29. As a direct and proximate result of Defendant’s wrongful and bad faith refusal to honor the

terms of its insurance policy, Plaintiff Dorothy Belton has suffered actual and punitive damages for

the accidental death benefit, emotional distress, attorney’s fees, interest, the costs of this action, in an

amount to be determined by a reasonable jury, not exceeding $75,000.00.



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                              FOR A THIRD CAUSE OF ACTION
                                   (Declaratory Judgment)

   30. Paragraphs one (1) through twenty-nine (29) above are incorporated herein the same as if

repeated herein verbatim.

   31. In addition to the relief sought above, Plaintiffs believe that a justiciable controversy exists

and seek a judicial declaration of the rights, status and other legal relations of the parties to this

action under the terms of the subject policy issued by Defendant to Plaintiffs’ Decedent, pursuant to

S.C. Uniform Declaratory Judgments Act, S.C. Code § 15-53-10 et seq.

   WHEREFORE, Plaintiffs demand a jury trial on all legal issues and claims against Defendant for

actual and punitive damages, plus interest and attorney’s fees, to be determined by a reasonable jury,

not exceeding $75,000.00 to fully compensate the Estate of Kevon Belton. Plaintiffs likewise seek a

Declaratory Judgment clarifying the obligations, benefits, and rights of the parties to this action as

alleged herein.



                                       Respectfully Submitted,



                                               BILLY R. OSWALD LAW FIRM



                                               s/ Bryn B. Osborne, Esq.
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West Columbia, SC
January 29, 2022



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